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                                      EXHIBIT B

                                     Sale Notice




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                          ) Chapter 11
                                                                )



W. R. GRACE & CO., etal.,’                                      ) Case No. 01-01139 (JKF)
                                                                ) (Jointly Administered)
                              Debtors.                          )
                                                                ) Hearing
                                                                ) Date:           November 28, 2011, at 9:00 a.m.
                                                                ) Objection
                                                                   Deadline:      November 4, 2011
                     NOTICE OF SALE OF THE VERMICULITE BUSINESS

To: (i)        The Office of the United States Trustee;

      (ii)     Counsel to JP Morgan Chase Bank N.A. as agent for the Debtors’ prepetition lenders;

      (iii)    Counsel to the L/C Facility Agent and L/C Issuers

      (iv)     Counsel to each of the official committees appointed in these Chapter 11 Cases;

      (v)      Counsel to the Asbestos Persona! Injury and Asbestos Property Damage Future
               Claimants’ Representatives;

      (vi)     Those parties that requested service and notice of papers in accordance with Fed. R.
               Bankr. P. 2002;


     The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W.
     R. Grace & Co.-Conn., A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon,
     Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc.,
     Creative Food N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
     (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Partners I, Inc. (f/k/a
     Grace Cocoa Limited Partners I, Inc.), G C Management, Inc. (f/Ida Grace Cocoa Management, Inc.), GEC
     Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities
     Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
     Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
     Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc.
     (f/Ida Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
     Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
     R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe
     Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
     Development Company, L B Realty, Inc., Litigation Management, Inc. (f/Ida GHSC Holding, Inc., Grace JVH,
     Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings
     Corp. (f/ida Nestor-BNA Holdings Corporation), MIRA Intermedco, Inc. (f/Ida Nestor-BNA, Inc.), IvIIRA
     Staffing Systems, Inc. (f/Ida British Nursing Association, Inc.), Remedium Group, Inc. (f/Ida Environmental
     Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin &
     Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/ida Cross Country
     Staffing), Hayden-Gulch West Coal Company and H-G Coal Company.


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    (vii)     Counterparties to the Transferred Contracts;

    (viii) Counsel to Purchaser;

    (ix)      All persons or entities known or reasonably believed to have asserted a Lien in any of
              the Transferred Assets;

     (x)      All federal, state and local taxing authorities who have a reasonably known interest in
              the relief requested by this Motion;

     (xi)     All persons and entities reasonably known to have expressed an interest in acquiring
              the Vermiculite Business;

     (xii)    The United States Attorneys for the Districts of Delaware, Massachusetts, Maryland,
              the Southern District of Florida, Arizona and South Carolina;

     (xiii) The state attorneys general for the states of South Carolina, Florida, Maryland,
            Massachusetts, Delaware and Arizona;

      xiv The state environmental protection agencies for the states of South Carolina, Florida,
     " ’ Massachusetts and Arizona;

     (xv) The provincial attorneys general for the Canadian provinces of Alberta, Manitoba and
            Ontario;
               The provincial environmental protection agencies for the Canadian provinces of
     "         Alberta, Manitoba and Ontario;

     (xvii) The United States Environmental Protection Agency;

     (xviii) Environment Canada; and

     (xix) the Canadian Environmental Assessment Agency.

           PLEASE TAKE NOTICE that, subject to Court approval, Seller proposes to sell the

Transferred Assets to Purchaser on the terms and conditions set forth below and as described in

more detail in the Debtors’ Motion for Entry of an Order: (a) Approving the Form of Asset Sale

Agreement; (b) Authorizing the Sale     of Certain Vermiculite Assets Free and Clear of all Liens,

Claims, Encumbrances and Other Interests; (c) Authorizing the Assumption and Assignment of

Executory Contracts; and (D) Approving Procedures for Noticing and Determining Cure




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Amounts [Docket No.                   1 (the "Sale Motion). 2 A copy of the Asset Sale Agreement (the
"ASA") is attached to the Sale Motion as Exhibit B. Any party wishing to receive a copy of the

Sale Motion or the ASA should contact Debtors’ counsel, attention:

                                 Laura Davis Jones
                                 Timothy P. Cairns
                                 Pachulski Stang Ziehi Young & Jones LLP
                                 919 North Market Street, 11th Floor
                                 P.O. Box 8705
                                 Wilmington, DE 19899-8705 (Courier
                                 19801)
        Please take further notice that the principal terms and conditions of the ASA are

summarized below: 3

                        Relevant ASA
       Term              Section ()                                         Description

       Seller                preamble       Grace

    Purchaser                preamble       Vermiculite Acquisition Corp.
                                            Transfer of Seller’s right, title and interest in and to the Transferred
 Sale of Business              2.01         Assets to Purchaser or its designee(s), free and clear of all Liens and
                                            imperfections in title (except certain Permitted Exceptions).
                                            USD 10,000,000, plus the excess of the Closing I&R Amount over USD
                                            5,414,000, or minus the excess of USD 5,414,000 over the Closing I&R
                                            Amount.
  Consideration                2.02
                                            A portion of the Consideration will be allocated to the Canadian
                                            Transferred Assets (as that term is defined in the Canadian ASA). 4


    Capitalized terms not defined herein shall have the meaning ascribed to them in, as the case may be, the Sale
    Motion, the ASA, the Declaration of Robert Whitney in Support of the Debtors’ Motion for Entry of an Order:
    (a) Approving the Form of Asset Sale Agreement; (b) Authorizing But Not Requiring the Sale             of Certain
     Vermiculite Assets Free and Clear of all Liens, Claims, Encumbrances and Other Interests; (c) Authorizing the
    Assumption and Assignment of Executory Contracts; and (D) Approving Procedures for Noticing and
    Determining Cure Amounts (the "Whitney Declaration") or the First Amended Joint Plan of Reorganization in
    their Chapter 11 Cases, Docket no. 25881, as it may be further amended, supplemented or otherwise further
    amended from time to time, and the schedules and exhibits to the foregoing, as they may be in effect from time
    to time (the "Plan").

    Capitalized terms used in this summary of terms of the ASA and not otherwise defined in this Motion shall have
    the meanings ascribed to them in the ASA. To the extent of any inconsistency between this summary and the
    ASA, the ASA’s terms and conditions shall govern

" Grace Canada, Inc., is a wholly-owned non-debtor subsidiary of Grace. The Canadian ASA pertains only to the
    Canadian Transferred Assets, which are not assets of the Debtors’ estates. The Canadian ASA is subject to the
    laws of Canada and the relevant political subdivisions thereof. The Debtors are not requesting the Court’s

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                        Relevant ASA
       Term              Section ()                                      Description
                                 Seller’s right, title and interest in and to the assets, properties and rights
                                 pertaining directly and exclusively to the conduct of Seller’s business of
Transferred Assets      5.08                 .   .    .   .
                                 mining, milling, expanding, manufacture, and/or sale of vermiculite,
                                 vermiculite concentrate, perlite, and specialty vermiculite products
                                 Seller’s right, title and interest in (1) cash; (2) refunds of Taxes, (3)
                                 amounts receivable; (4) Insurance, claims with respect to Insurance, and
                                 refunds of amounts previously paid or prepaid on account of Insurance;
                                 (5) employee benefit plans and funds; (6) certain third-party proprietary
                                 information; (7) records to the extent relating to any of the Excluded
 Excluded Assets        1.01     Assets or the Excluded Liabilities, (8), the names "Grace" and
                                 "Davison"; (9) real property of, and all other property located at, the
                                 Ajax Facility; (10) bonds and letters of credit; (11) assets of the SCC
                                 Business, (12) assets of the fireproofing laboratory currently located at
                                 the South Carolina Real Property, (13) Seller’s Pompano Beach Assets;
                                 and (14) any other assets listed on Exhibit 1.02A.
                                 Rights under the Vermiculite Leases and the other Subject Business
   Transferred
                        5.11     Contracts, including contracts listed m Exhibit D to this Motion and
                                                              .                   .


    Contracts                    Schedule 1.02E to the ASA.
                                 (i) Obligations arising under the Transferred Contracts; (ii) Reclamation
   Transferred                   Obligations; (iii) Retention Pond liabilities and obligations; (iv) any
                         1.01
    Liabilities                  other liabilities listed in Schedule 4.02 to the ASA; and (iv) certain
                                 vacation pay obligations.
                                 Seller’s liabilities and obligations relating to the Transferred Assets
                                 other than the Transferred Liabilities, including but not limited to
                                 certain: (i) income, payroll and similar taxes arising prior to Closing;
                                 (ii) Seller intercompany payables; (iii) Insurance obligations; (iv)
                                 employee benefit plans and funds; (v) accounts payable; (vi) product
                                 liability and warranty claims for products sold prior to Closing; (vii)
    Excluded                     Plan Claims; (viii) any liability for Seller’s violation prior to the Closing
                         1.01
    Liabilities
       bTi tes of any law, governmental rule or order, including but not limited to any
                                 violation of Environmental Law; (ix) Workers Compensation claims for
                                 periods prior to Closing; and (x) liability or environmental remediation
                                 required by applicable law of any condition existing as of the Closing
                                 and arising out of the operations of the Subject Business at the Subject
                                 Real Property.
                                 Includes certain Liens for current Taxes, assessments or other claims by
                                 a Governmental Authority, zoning, subdivision, building code,
    Permitted                    entitlement and other land use, construction and Environmental Laws by
                      Preamble
   Exceptions                    a Governmental Authority, certain easements, rights-of-way, licenses,
                                 utility agreements, restrictions, and other similar encumbrances of
                                 record, and certain other non-material exceptions.
                                 Purchaser will offer employment to employees listed in Schedule 12.01
Employee Matters          12     to the ASA. Those who accept offers of employment will become
                                 Purchaser’s employees on the Closing Date.
Scheduled Closing                Tenth Business Day after the date on which the conditions to Closing
                        3.01
       Date                      have been met or waived.


    authority to enter into the Canadian ASA, as it will be Grace Canada, Inc., that is the seller, and not Grace or
    another Debtor.


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                        Relevant ASA
       Term                  Section ()                                 Description

Closing Conditions            10 & 11     Sale Order shall have become final and non-appealable.
                                               Prior to Closing by written agreement of Seller and Buyer;
                                               After 180 days after the ASA’s date upon written notice of one
 Termination of
                                 13            party to the other;
       ASA
                                               By either Seller or Purchaser upon the other’s inability to meet its
                                               respective closing conditions.
                                          Seller shall indemnify Purchaser against any Damages to the Purchaser
                                          Group that are caused by or arise out of (i) the breach of or failure of
                                          Seller to perform and fulfill any provision or agreement to be performed
         e
     Seller’s
                              14.02(a)    or fulfilled by it under this ASA or any of the other Transaction
 Indemnification                          Documents, (ii) .. any inaccuracy in any representation or breach of any
                                          warranty of such Seller set forth in Article 5 of the ASA, or (iii) any of
                                          the Excluded Liabilities or Excluded Assets.
                                          If Purchaser objects to the Closing 1&R Amount and if the Parties
Dispute Resolution              4.06      cannot agree, then determination of the Closing I&R Amount shall be
                                          subject to arbitration.

        PLEASE TAKE FURTHER NOTICE that, subject to Court approval, pursuant to

sections 363(b) and 363(f) of the Bankruptcy Code, and subject to any orders entered by the

Court, Seller will sell all right, title, and interest in the Transferred Assets with any liens, claims,

encumbrances, and interests attaching to the proceeds of that sale.

        PLEASE TAKE FURTHER NOTICE that the Debtors propose to assume and assign

to Purchaser those Transferred Contracts set forth on Exhibit 1 to this Notice (the "List of

Transferred Contracts"). The List of Transferred Contracts also sets forth next to each

Transferred Contract the proposed Cure Amount that Seller proposes to pay to each counterparty.

If a counterparty to a Transferred Contract does not (i) properly object to the applicable Cure

Amounts and/or adequate assurance of future performance by Purchaser on or before November

4, 2011; (ii) set forth a specific default in any executory contract or unexpired lease; or (iii) claim

a specific monetary amount that differs from the amount (if any) specified by Seller as the Cure

Amount on the List of Transferred Contracts, the Court shall enter an order deeming the Cure

Amount set forth on the List of Transferred Contracts to be the actual Cure Amount payable



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under section 365 of the Bankruptcy Code and forever barring such counterparty from objecting

to adequate assurance of future performance and to the Cure Amounts and from asserting any

additional cure or other amounts against the Debtors, their estates, and Purchaser with respect to

its executory contract(s) or unexpired lease(s).


                                     OBJECTION DEADLINE

PLEASE TAKE FURTHER NOTICE that objections and other responses to the relief (each,

an "Objection") requested in the Motion and objections or other responses to the Cure Amounts

set forth in Exhibit I hereto (each, a "Cure Objection"), if any, must be in writing and filed with

the Bankruptcy Court no later than 4:00 p.m. prevailing Eastern Time on November 4, 2010

(the "Objection Deadline").


        PLEASE TAKE FURTHER NOTICE that you must also serve any such Objection or

Cure Objection on each of the following parties prior to the Objection Deadline:

Co-counsel for         Laura Davis Jones                     Adam Paul
the Debtors:           Timothy P. Cairns                     John Donley
                       Pachulski Stang Ziehl Young &         Kirkland & Ellis LLP
                       Jones LLP                             300 North LaSalle Street
                       919 North Market Street, 11th Floor   Chicago, IL 60654
                       P.O. Box 8705
                       Wilmington, DE 19899-8705
                       (Courier 19801)
                       Janet S. Baer
                       Roger J. Higgins
                       Baer Higgins Fruchtman LLC
                       111 East Wacker Drive
                       Suite 2800
                       Chicago, IL 60601

Counsel to the         Lewis Kruger                          Michael R. Lastowski
Official               Arlene Krieger                        Duane, Morris & Heckscher, LLP,
Committee of           Stroock & Stroock & Lavan             1100 N. Market
Unsecured              180 Maiden Lane, New York,            Street, Suite 1200, Wilmington, DE


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Creditors              NY 10038-4982                          19801-1246

Counsel to the         Scott L. Baena                         Michael B. Joseph, Ferry & Joseph,
Official               Jay Sakalo                             P.A.
Committee of           Bilzin, Sumberg, Dunn, Baena,          824 Market Street
Property               Price & Axelrod,                       Suite 904
Damage                 First Union Financial Center, 200      P.O. Box 1351,
Claimants              South Biscayne Boulevard, Suite        Wilmington, DE 19899
                       2500
                       Miami, FL 33131

Counsel to the         Peter Van L. Lockwood                  Mark T. Hurford
Official               Caplin & Drysdale, Chartered           Campbell & Levine, LLC
Committee of           One Thomas Circle, N.W.                800 N. King Street
Personal               Washington, D.C. 20005                 Suite 300
Injury                                                        Wilmington, DE 19801
Claimants

Counsel to the         Philip Bentley                         Teresa K.D. Currer
Official               David Blabey                           Buchanan, Ingersoll & Rooney, P.C.
Committee of           Kramer Levin Naftalis & Frankel        1000 West Street
Equity Holders         LLP, 919 Third Avenue                  Suite 1410
                       New York, NY 10022                     P.O. Box 1397
                                                              Wilmington, DE 19899-1397

Counsel to the         Richard H. Wyron                       John C. Philips, Jr.
Future                 Roger Frankel                          Phillips, Goldman & Spence, P.A.
Claimants’             Orrick, Herrington & Sutcliffe, LLP    1200 North Broom Street
Representative         3050 K Street, NW, Suite 300           Wilmington, DE 19806
                       Washington, DC 20007

The Office of          David Klauder
the United             844 N. King Street
States Trustee         Wilmington, DE 19801

         IF NO OBJECTIONS OR CURE OBJECTIONS ARE TIMELY FILED AND SERVED

IN ACCORDANCE WITH THIS NOTICE, THE BANKRUPTCY COURT MAY GRANT

THE RELIEF REQUESTED BY THE MOTION WITHOUT FURTHER NOTICE OR

HEARING.




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      IN THE EVENT THAT ANY OBJECTION OR RESPONSE IS FILED AND SERVED

IN ACCORDANCE WITH THIS NOTICE, A HEARING ON THE MOTION WILL BE HELD

BEFORE THE HONORABLE JUDITH K. FITZGERALD AT THE UNITED STATES

BANKRUPTCY COURT, 824 NORTH MARKET STREET, WILMINGTON, DE 19801,

AT 9:00 A.M., November 28, 2011.

Dated: October 17, 2011                        KIRKLAND & ELLIS LLP
                                               Adam Paul
                                               John Donley
                                               300 North LaSalle Street
                                               Chicago, IL 60654
                                               (312) 862-2000

                                               and

                                               BAER HIGGINS FRUCHTMAN LLC
                                               Janet S. Baer
                                               Roger J. Higgins
                                               111 East Wacker Drive
                                               Suite 2800
                                               Chicago, IL 60601
                                               (312) 836-4047

                                               and

                                               PACH14TSKISTAN0 ZIEHL & JONES LLP



                                               Laitra Davis Jnes (Bar    . 436)’\
                                               James E. O’Neill (Bar  ro.4042)
                                               Kathleen P. Makowski Bar No. 3
                                               Timothy P. Cairns (Bar o.      8)
                                               919 North Market Street, 17th Floor
                                               P.O. Box 8705
                                               Wilmington, DE 19899-8705
                                               (302) 652-4100
                                               (302) 652-4400

                                               Co-Counsel for the Debtors and Debtors-in-
                                               Possession



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                                       EXHIBIT 1

                                 Transferred Contracts




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                                                  EXHIBIT 1

                                        Transferred Contracts

                        Agreement                                     Counterparty           Cure Amount
Supply, Distribution and Lease Transfer Agreement effective
                                                                  Virginia Vermiculite,
April 25, 2011 between Virginia Vermiculite, L.L.C. and W.                                           $0.00
                                                                         L.L.C.
R. Grace & Co.-Conn.

Lease Agreement (Donnan Parcel) entered into May 16, 2011,
                                                                    .
                                                                   Virginia Vermiculite,
                                                                            ........
between Virginia Vermiculite, L.L.C. and W. R. Grace &                                               $0.00
                                                                          L.L.C.
Co.-Conn.

                                                                  Patricia Young Taylor,
Lease Agreement entered into March 17, 2011, between            Gladys Clay, Cane Young,
Marsha Young et al. and Virginia Vermiculite, L.L.C.             Leroy Young, Jr., Marsha
Assignment and Assumption of Lease Agreement (Young               Young, Dolores Young               $0.00
Parcel) dated September 20, 2011, between W. R. Grace &          Shannon, Gerina Young,
Co.-Conn. and Virginia Vermiculite, L.L.C.)                     Terrance Young & Virginia
                                                                    Vermiculite, L.L.C.

Exploration Agreement and Lease between H. Kenneth Hanna
and Iris Simpson Hanna and Carolina Vermiculite Company,
Inc. dated November_, 1984, as amended by that certain
Extension of Lease Agreement between Paul Kenneth Hanna
and Katie Bell Hanna and Virginia Vermiculite LTD.,             Paul Kenneth Hanna, Katie
successor to Carolina Vermiculite Company dated February          Bell Hanna & Virginia              $0.00
28, 2011.                                                          Vermiculite, L.L.C.
(Assigned to W. R. Grace by Assignment and Assumption of
Lease Agreement (Hanna Parcel) dated April 25, 2011,
between W. R. Grace & Co.-Conn. and Virginia Vermiculite,
L.L.C.)

Lease Agreement between Jack W. Harrison and Emily M.
Harrison, Wife of Joe W. Harrison (Deceased) and Carolina
Vermiculite Division of Virginia Vermiculite, LP, dated
March 8, 2001, as amended by that certain Extension of Lease
Agreement between Jack W. Harrison and Emily W.                 Jack W. Harrison, Emily M.
Harrison, wife of Joe W. Harrison (deceased) and Carolina           Harrison & Virginia              $0.00
Vermiculite Company, a division of Virginia Vermiculite,            Vermiculite, L.L.C.
Ltd., dated February 10, 2011.
(Assigned to W. R. Grace & Co.-Conn. by Assignment and
Assumption Agreement made as of March 25, 2011, between
Virginia Vermiculite, L.L.C. and W. R. Grace & Co.-Conn.)

Lease Agreement between Jack Wingo McKittrick and
Carolina Vermiculite Company, a division of Virginia
Vermiculite, Ltd., dated June 9, 1994, as amended by that
certain Extension of Lease Agreement between Jack Wingo             Jack McKittrick &
McKittrick and Carolina Vermiculite Company, a division of         Virginia Vermiculite,             $0.00
Virginia Vermiculite, Ltd., dated December 31, 2008.                      L.L.C.
(Assigned to W. R. Grace & Co.-Conn. by Assignment and
Assumption Agreement dated May 19, 2011, between
Virginia Vermiculite, L.L.C. and W. R. Grace & Co.-Conn.),
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                         Agreement                                     Counternartv             Cure Amount
Exploration Agreement and Lease between Leonora Anne
Verenes and Carolina Vermiculite Company, Inc. Dated July
30, 1984, as amended by that certain Extension of Lease
Agreement between Leonora Anne Verenes and Carolina
Vermiculite Company, a Division of Virginia Vermiculite,
Ltd. dated July 1, 1994, as amended by that certain Extension     Leonora Anne Verenes &
of Lease Agreement between Leonora Anne Verenes and                 Virginia Vermiculite,               $0.00
Carolina Vermiculite Company, a division of Virginia                       L.L.C.
Vermiculite, Ltd., dated October 5, 2007.
(Assigned to W. R. Grace & Co.-Conn. by Assignment and
Assumption of Lease Agreement (Verenes Parcel) dated May
19, 2011, between Virginia Vermiculite, L.L.C. and W. R.
Grace & Co.-Conn.)

Lease Agreement (Wingo Parcel) entered into May 16, 2011,
                                                                    Virginia Vermiculite,
between Virginia Vermiculite, L.L.C. and W. R. Grace &                                                  $0.00
                                                                           L.L.C.
Co.-Conn.

                                                                 Greenville Scale Company,
Calibration Agreement executed November 10, 2010                                                        $0.00
                                                                             Inc.

Service Agreements Non-Hazardous Waste executed
                                                                  Waste Management, Inc.                $0.00
February 24, 2010

Air System Maintenance and Service Agreement executed
                                                                    I&M Industrials, Inc.               $0.00
August 6, 2008

Mutual Confidential Non-Disclosure Agreement dated
September 20, 2006, extended by extension agreement                    NanoPack Inc.                    $0.00
executed May 13, 2008

                                                                  Mary Dula and Margaret
Easement and Right of Way Agreement dated May 22, 2008                                                  $0.00
                                                                        Thompson

Access Easement Agreement dated July 27, 2010, between
                                                                     FIATP Timber LLC                   $0.00
FIATP Timber LLC and W. R. Grace & Co.-Conn.

Railcar Lease
Rider No. A133 W.R. Grace & Co. (3 cars) UTLX 220115,             Union Tank Car Company                $0.00
220117,220171, accepted January 21, 2009

Railcar Lease
                                                                   General Electric Railcar
Car Leasing Agreement 1822-28, Rider No. 19, Renewal No.                                                 $0.00
                                                                    Services Corporation
1 7/17/2008

Railcar Lease                                                         Rocky Mountain
Schedule 02 dated June 7, 2001 Master Lease Agreement
                                                                   Transportation Services,              $0.00
Contract #0406-06
                                                                             Inc.
April 24, 2006

                                                                 Securitas Security Services,
Securitas Security Agreement                                                                             $0.00
                                                                 Inc.
